                      Case 1:23-mj-01007-DLC Document 10 Filed 01/19/23 Page 1 of 2


         



                                               
                                                                       _eR
                                                            (jjO~V.JJOeR
                      5{jRP2JR~T%xRjOJ                            
                                 8                                       
                                                                                  &JR/~ 23-mj-1007-DLC
                          '~+~f| )KkbqS
                                                                           
                                  ' '/6                                

                                                                   "              "

                                                            ""
*                     '~ ,~g|)KlbrS                       ''06 JcRR~^tt~RR~PR~ThjO~~J{
O~eJO~{jPRejOJRJ{P*ahRJcRReJhjM~{PxJMR_TRjRPjTvXjt!
              9     ~JRJ_O~~ORRPj}c#
              9     jUO~{jORP ~R{PR~RRJR{R}OReJeRO~xJjx~R$~
              9     ~O~xsjeJswO~{Pjj~{R_ej{eR0PR2Rj{c&~{Pjj~{~T1RtRJR

                                                                   !"""
        3ejjJR~{JuRO~c{jJ}ORM~{P

        4ejjJ{{RORPM~{P~U

 9   4emnJRORQM~{P~U                              :;<=>? RORPM"

           9  L  @ ABCDEFGHIj}OJiPR~jRPjheRO~
                                          

                M eRJcRRzR{~TeRPRY{PJ{J{PRJOeR~_ZmiR_uu~j{cOJh~~hR~R
                    .+606.6(+6(0+6),()-046'$1'6$&.6('606 .16.66$'6&(+0 6(+6#('  '6006)+((6(
                    (3'+.*6'62$1 6



                    *UejM~}PmRORPMRJu~RP~OxR{~~ROiRRORPj{RRxJMR]tRP~T RO~P

                O JMJjuM~{PjeJ~uR{R 0066()4 (06%6('6(+6.+ 606'6!'0"606.1+05




                                                       """"""

     4ejJRJJ{ORM~}PxJMRW[jRPjUhRPR\{PL{P~R{~O~xujehRJM~R
JcRRxR{ 4iRO~xJmxxRPjJRs~PReRJx~{~UeRM~{PR{PRRP~hR6{jRP2JR j{OtPj{ceR
ROj`eRN~}PjUeRPRZ{PJ{P~R{~O~xujeeRJcRRxR{ %eRRR~TeR7}jRP2JR eRO~
xJ~PRJpPdzR{~V_YjRJcJj{hRPR\{PJ{J{PRJOhR_eRR{jRJx~{~TeRM~{Pj{OuPj{c
j{RRJ{PO~
                    Case 1:23-mj-01007-DLC Document 10 Filed 01/19/23 Page 2 of 2


                                                                                                                                      

       



#((%(( AcMHrxoDrxJMx~cd|DvvMDxDpHMFrpJMpJMJD~Dp~doM Bcd|FrpJdllFM|D~d|aMJDpJ~cM
|MHxg~dnlFMxMlMD|MJcMpMd~cMx( 7~cMJM_pJDp~d|WrpJpr~bdl~rpDllHcDxbM|rw~cMJM`pJDp~xMvrx~|~r
|MxMD|Mp~MpHM

                                                               

  &"$ ((%(" "%'( 8~cMJMZRpJDp~ DpJMDHc|xM~ JMHlDxMpJMxvMpDl~rUvMiw~cD)
          9        DllrpMx|rVcMvxrvM|MHxepbcd|DvvMDxDpHMFrpJDxMdpHlJMJrp~cMFrpJ,
                  ~cMvxtvMxd|pr|FjMHrHlDeo|MHMvD|JM|HxeFMJDFrM-DpJ
          !        : fllpr~|MllcNvxuvMx~DllrWx~cMxIlDdo|rFOoDJODbDfp|d rwJrDpcdpbrxMJHMg~|DlM
                     cflMcd|DvvODyDpHMFrpJf|dpP]^MH~

!%(  cMJM\TpJDp DpJMDHc|yM~ cDMxMDKcf|DvvMDxDpHMFrpJDpJcDMMdcMxxMDJDln~cMHrpJd~drp|
rXxMlMD|M|M~F~cMHr rxcDJ~cMoMvlDfpMJ~roM 8DbxMM~r~cd|.vvMDxDpHM1rpJ




; ~cMJMZSpJDp~ DpJMDHc|xM~ JMIlDzMpJOxvMpDl~rYvMkx~cD~~cd|hp[sxoD~drpd|~z M ?MM&C@3%#$


4D~M(     '  "
                                                                                            00>OM;O;#!0>A8O



                  8F(58358>GO3B08O 68$ O1-O                           8L 8358>IO3E08O <#!0*A8O0O/O



                 A8?H59379>IO4C08O 5:%0,O0-O                           A8>K68358)KO4E28O =#"0>A8O0O>O



                 A8>J59478)KO3D08O 58&.O0-O                            A8@L68458>KO4E08O ;#!0A8O0O>O




                                                                      (      ( (


4D~M*     '  "                                                                    }=r{QQq0 >}}r
                                                                                     &!0 A8O3O+8'O48O5A,IO+8'O


/vvyrMJ

5D~M+     '  "                                                                    }6rqEmL < 2EGQmm
                                                                                             AON;O;#!0>A8O
